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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Criminal No. 23-258 (ECT/JFD)
UNITED STATES OF AMERICA,
Plaintiff, PLEA AGREEMENT AND

SENTENCING STIPULATIONS
Vv.

MICHAEL STEVEN SPAR,
Defendant.

The United States of America and defendant MICHAEL STEVEN SPAR
(hereinafter referred to as the “defendant”) agree to resolve this case on the terms
and conditions that follow. This plea agreement binds only the defendant and the
United States Attorney’s Office for the District of Minnesota (hereinafter “the United
States” or “the Government”). This agreement does not bind any other United States
Attorney’s Office or any other federal or state agency.

1. Charges. The defendant agrees to plead guilty to Count One of the
Indictment. Count One charges the defendant with Conspiracy to Distribute 500
grams or more of a mixture and substance containing methamphetamine, a controlled
substance, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A). The government
agrees not to charge the defendant with any other known drug trafficking conduct as
of the date of the plea. The defendant fully understands the nature and elements of
the crimes with which he has been charged.

2. Factual Basis. The defendant is pleading guilty because he is in fact

guilty of Count One of the Indictment. In pleading guilty, the defendant admits the

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following facts and that those facts establish his guilt beyond a reasonable doubt and
constitute relevant conduct pursuant to the United States Sentencing Guidelines:
Between on or about April 2021 until on or about August 8, 2021, the defendant
conspired to distribute 500 grams or more of a mixture and substance containing
methamphetamine, a controlled substance, in violation of Title 21, United States
Code, Section 841(a)(1) and 841(b)(1)(A). On July 14 2021, the defendant sold
approximately one pound of methamphetamine to a buyer in Blaine, Minnesota.
During the sale, the defendant collected $5,500 from the buyer. On August 3, 2021,
the defendant delivered another pound of methamphetamine to a buyer at another
location in Blaine, Minnesota. For this transaction, the defendant collected $5,200
from the buyer. Approximately one month later (September 6, 2021), the defendant
fled the police in his vehicle. After the vehicle chase, the police found a Smith &
Wesson .40 caliber handgun and a box of 5.56 millimeter ammunition inside the
defendant’s vehicle. As for relevant conduct, the defendant stipulates and agrees that
he conspired to distribute 1.5 — 5 kilograms of methamphetamine mixture. The
defendant stipulates and agrees that he conspired and reached an agreement with
other persons to distribute controlled substances; that he intended to aid other
members of the conspiracy by distributing controlled substances and collecting cash
proceeds; that he acted knowingly and voluntarily when he joined the agreement to
distribute controlled substances; and that he knew his actions violated the law. The
defendant stipulates that he acted voluntarily when he possessed the drugs, and that

he knew his actions violated the law.
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3, Waiver of Pretrial Motions. The defendant understands and agrees
that the defendant has certain rights to file pre-trial motions in this case. As part of
this plea agreement, and based upon the concessions of the United States within this
plea agreement, the defendant knowingly, willingly, and voluntarily gives up the
right to have any pending motions resolved and to file any additional pre-trial
motions in this case. The defendant agrees that, by pleading guilty, he is withdrawing
any motions previously filed.

4, Waiver of Constitutional Trial Rights. The defendant understands
that he has the right to go to trial. At trial, the defendant would be presumed
innocent, have the right to trial by jury or, with the consent of the United States and
of the Court, to trial by the Court, the right to the assistance of counsel, the right to
confront and cross-examine adverse witnesses, the right to subpoena witnesses to
testify for the defense, the right to testify and present evidence, and the right to be
protected from compelled self-incrimination. The defendant understands that he has
the right to an attorney at every stage of these proceedings and, if necessary, one will
be appointed to represent him. The defendant understands that he has the right to
persist in a plea of not guilty and, if he does so, he would have the right to a public
and speedy trial. By pleading guilty, the defendant knowingly, willingly, and
voluntarily waives each of these trial rights, except the right to counsel. The
defendant understands that a guilty plea is a complete and final admission of guilt
and, if the Court accepts the guilty plea, the Court will adjudge the defendant guilty

without a trial.
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5. Additional Consequences. The defendant understands that as a
result of his conviction, he could be assessed the costs of prosecution and experience
additional consequences, such as the loss of the right to carry firearms, the right to
vote, and the right to hold public office.

6. Statutory Penalties. The defendant understands that Count One of

the Indictment is a felony offense that carries the following statutory penalties:

a. a mandatory minimum of 10 years’ years in prison;
b. a maximum of life in prison;
C. a supervised release term of at least 5 years;

d. a maximum fine of $10,000,000; and

e. a mandatory special assessment of $100 under 18 U.S.C.
§ 3018(a)(2)(A).

7, Revocation of Supervised Release. The defendant understands that
if he were to violate any condition of supervised release, the defendant could be
sentenced to an additional term of imprisonment up to the length of the original
supervised release term, subject to the statutory maximums set forth in 18 U.S.C.
§ 3583.

8. Guidelines Calculations, The parties acknowledge that the defendant
will be sentenced in accordance with 18 U.S.C. § 3551, et seq. Nothing in this plea
agreement should be construed to limit the parties from presenting any and all
relevant evidence to the Court at sentencing. The parties also acknowledge that the

Court will consider the United States Sentencing Guidelines in determining the
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appropriate sentence and stipulate to the following guidelines calculations. The

parties stipulate to the following guidelines calculations:

a.

Base Offense Level. The parties agree that pursuant to U.S.S.G.
§2D 1.1, the base offense level for the violation noted in Count One
of the Indictment is 32 (1.5 kilograms but less than 5 kilograms
of methamphetamine mixture) or 34 (500 grams to 1.5 kilograms
of actual methamphetamine).

Specific Offense Characteristics. The government believes that
the Base Offense Level should be increased by .2 levels,
pursuant to U.S.8.G. § 2D1.1(b)()), for possession of a dangerous
weapon, namely a firearm. The defense does not agree, and
reserves the right to contest this enhancement.

Chapter 3 Adjustments. The parties agree that, other than
acceptance of responsibility, no other Chapter 3 adjustments

apply.

Acceptance of Responsibility. The government agrees to
recommend that the defendant receive a 2-level reduction for
acceptance of responsibility pursuant to U.S.S.G. § 3E1.1(a). As
the defendant has timely notified the government of his intention
to enter a plea of guilty, the government agrees to recommend
that the defendant receive an additional 1-level reduction
pursuant to U.S.S.G. § 3E1.1(b). Whether these reductions will
be imposed shall be determined by the Court in its discretion.
However, the defendant understands and agrees that the
government's recommendations are conditioned upon the
following: (1) the defendant testifies truthfully during the change
of plea and sentencing hearings; (2) the defendant provides full,
complete and truthful information to the United States Probation
Office in the pre-sentence investigation; and (8) the defendant
engages in no conduct inconsistent with acceptance of
responsibility before the time of sentencing.

Criminal History Category. The parties believe that, at the time
of sentencing, the defendant will fall into Criminal History
Category V. U.S.S.G. § 4A1.1. This does not constitute a
stipulation, but a belief based on an assessment of the
information currently known. The defendant’s actual criminal
history and related status will be determined by the Court based
on the information presented in the Presentence Report and by

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the parties at the time of sentencing. The defendant understands
that if the presentence investigation reveals any prior adult or
juvenile sentence which should be included within his criminal
history under the U.S. Sentencing Guidelines, the defendant will
be sentenced based on his true criminal history category, and he

will not be permitted to withdraw from this Plea Agreement.
U.S.S.G. § 4A1.1.

f. Guidelines Range. The Guidelines Range may be as low as 188-
235 months, with a mandatory minimum of 120 months
(Adjusted Offense Level 29: Base offense level 32, no increase for
possession of a dangerous weapon, and 38-level decrease for
acceptance of responsibility) or as high as 210-262 months, with
a mandatory minimum of 120 months (Adjusted Offense
Level 38: Base offense level 34, 2-level increase for possession of
a dangerous weapon, and 3-level reduction for acceptance of
responsibility).

g. Fine Range. The Sentencing Guidelines fine range is $30,000 to
$10,000,000. U.S.S.G. § 5E1.2(c)(4).

h. Supervised Release. The Sentencing Guidelines require a term
of supervised release of at least 5 years. U.S.S.G. § 5D1.2(c); 21
U.S.C. § 841(b)(1)(A).

9, Discretion of the Court. The foregoing stipulations are binding on the
parties, but do not bind the Probation Office or the Court. The parties understand
that the Sentencing Guidelines are advisory and their application is a matter that
falls solely within the Court’s discretion. The Court will make its own determination
regarding the applicable Guidelines factors and the applicable criminal history
category. The Court may also depart from the applicable Guidelines range. If the
Court or the Probation Office determines that the applicable guideline calculations
or the defendant’s criminal history category is different from that stated above, the
parties may not withdraw from this agreement, and the defendant will be sentenced

pursuant to the Court’s determinations.
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10. Agreements as to Sentencing Recommendation. The government
agrees to recommend a sentence of no more than 168 months’ imprisonment.
However, the government may recommend a sentence above 168 months if the
defendant acts in a manner inconsistent with acceptance of responsibility before the
time of sentencing. The defense reserves the right to make motions for departures
under the Sentencing Guidelines or for variances pursuant to 18 U.S.C. § 3553(a) and
the government reserves the right to oppose any such motions made by the defense.
If the Court does not accept the sentencing recommendation of the parties, the
defendant will have no right to withdraw his guilty plea.

11. Special Assessment. The Guidelines require payment of a special
assessment in the amount of $100 for each felony count of which the defendant is
convicted, pursuant to Guideline § 5E1.3. The defendant agrees to pay the special
assessment prior to sentencing.

12. Forfeiture. The defendant agrees to forfeit to the United States,
pursuant to 21 U.S.C. § 853(a)(1) and (2), any and all property constituting, or derived
from, any proceeds the defendant obtained directly or indirectly as a result of Count
1 of the Indictment, and any and all property used, or intended to be used, in any
manner or part to commit or to facilitate the commission of said violations. This
specifically includes all of the cash, guns, and ammunition referenced in Paragraph
2 of this plea agreement.

The defendant agrees that the United States may, at its option, forfeit such

property through civil, criminal or administrative proceedings, waives any deadline
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or statute of limitations for the initiation of any such proceedings, and abandons any
interest he may have in the property. The defendant waives all statutory and
constitutional defenses to the forfeiture and waives any right to contest or challenge
in any manner (including direct appeal, habeas corpus, or any other means) such
forfeiture on any grounds. To the extent the defendant has sought remission or
otherwise challenged the forfeiture of the above-described property, he withdraws
any such challenges.

13. Waivers of Appeal and Collateral Attack. The defendant hereby
waives the right to appeal any non-jurisdictional issues. This appeal waiver includes,
but is not limited to, the defendant’s waiver of the right to appeal guilt or innocence,
sentence and restitution, and the constitutionality of the statutes to which the
defendant is pleading guilty. The parties agree, however, that excluded from this
waiver is an appeal by defendant of the substantive reasonableness of a term of
imprisonment above 168 months’ imprisonment. The defendant also waives the right
to petition under 28 U.S.C. § 2255 except based upon a claim of ineffective assistance
of counsel. Both parties further acknowledge and agree that in the event that of a
retroactively applicable change in the law enacted by Congress, decided by the
Supreme Court, and/or adopted by the United States Sentencing Commission,
nothing in this plea agreement will preclude the defendant from pursuing any

applicable remedy to modify his sentence.
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The defendant has discussed these rights with the defendant’s attorney. The
defendant understands the rights being waived, and the defendant waives these
rights knowingly, intelligently, and voluntarily.

14. FOIA Requests. The defendant waives all rights to obtain, directly or
through others, information about the investigation and prosecution of this case
under the Freedom of Information Act and the Privacy Act of 1974, 5 U.S.C. §§ 552,
552A.

15. Complete Agreement. This, along with any agreement signed by the
parties before entry of the plea, is the entire agreement and understanding between
the United States and the defendant.

ANDREW M. LUGER

Date: 2/1 /w2

BY: BRADLEY M, ENDICOTT
Assistant United States Attorney

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